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 This document has been electronically entered in the records of the United
 States Bankruptcy Court for the Southern District of Ohio.

 IT IS SO ORDERED.




 Dated: February 11, 2020




                             UNITED STATES BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF OHIO
                               WESTERN DIVISION AT DAYTON


 In re: TAGNETICS INC.,
                                                  Case No.   19‐30822

                                                  Judge Humphrey
                                                  Chapter 7




          Decision Granting Petitioning Creditors’ Motion for Contempt (Doc. 145)
          and Determining Additional Interest as a Remedy to Enforce Compliance

        This matter is before the court on the Motion to Hold Tagnetics in Indirect Contempt
 (doc. 145) (the “Motion”), filed by petitioning creditors Jonathan Hager, Ronald E. Earley
 and Kenneth W. Kayser (the “Petitioning Creditors”). For the reasons explained below, the
 court finds Tagnetics, Inc. (“Tagnetics”) in civil contempt of this court’s Order Granting in
 Part Tagnetics’ Motion to Enforce Settlement Agreement (Doc. 101) and Ordering Other
 Matters entered on October 25, 2019 (doc. 119) (the “Settlement Enforcement Order”).
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         As a remedy for Tagnetics’ contempt, the court is ordering that Tagnetics pay, in
 addition to the federal judgment rate of interest on all amounts owed to the Petitioning
 Creditors under the Settlement Enforcement Order which have already become due, an
 additional 5% per annum, simple interest, compounded monthly, (the “additional interest”)
 on all sums which previously became due the Petitioning Creditors under the Settlement
 Enforcement Order, and on all future sums which become due to the Petitioning Creditors to
 the extent that those sums are not paid as due under the Settlement Enforcement Order.
 The purpose of that additional interest on sums that have become due and or become past‐
 due in the future is to coerce Tagnetics’ compliance with the Settlement Enforcement Order.
 However: 1) Tagnetics shall have 30 days from the date of the entry of the separate order to
 be entered to pay all sums currently due to the Petitioning Creditors under the Settlement
 Enforcement Order, with interest pursuant to 28 U.S.C. § 1961 commencing three business
 days following the date of entry of the Settlement Enforcement Order; 2) The additional 5%
 interest shall only commence to accrue 31 days from the date of the entry of this order; and
 3) While all sums due under the Settlement Enforcement Order shall collect interest at the
 federal judgment rate of interest provided by 28 U.S.C. § 1961 from the time they first
 become due until those sums are paid, the additional 5% interest shall not accumulate during
 the pendency of any stay pending appeal ordered by a court of competent jurisdiction.

                                   Procedural and Factual Background

         Through the Settlement Enforcement Order, the court granted, in part, Tagnetics’
 motion to enforce a settlement reached between it, as the putative Chapter 7 debtor in this
 case, and the Petitioning Creditors who filed an involuntary bankruptcy petition against
 Tagnetics.1 The integral terms of the Settlement Enforcement Order are as follows:




 1
  The original petitioning creditors who filed the involuntary petition against Tagnetics included the Petitioning
 Creditors, plus Kayser Ventures Ltd, Robert Strain, and S‐Tek Inc. Kayser Ventures, Strain, and S‐Tek previously
 settled with Tagnetics and are no longer serving as petitioning creditors.


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        Payment Schedule

      Payments                       Timing                         Earley          Kayser           Hager
      First          Within 3 business days of the entry of          $30,000         $30,000          $30,000
                     this order
      Second         12 months from entry of this order             $30,000    $30,000     $30,000
      Third          18 months from entry of this order             $30,000    $30,000     $30,000
      Balance        Upon next liquidity event2                     $96,980     $61,582     $58,144
      Total                                                     $186,980.00 $151,582.00 $148,144.00

        Excepting the payments required by [the Settlement Enforcement] Order as defining
         the terms of the settlement reached by the parties, the parties are mutually released
         from any past obligation to each other arising out of any contract or claim of any
         nature, including as to any salary, benefits, loans or other similar obligations owed to
         the Remaining Petitioning Creditors. This release shall not affect any equity interest,
         including shares of stock, held by the Remaining Petitioning Creditors, except that it
         shall release any past dividends or other monetary obligations arising of any such
         equity or stock ownership.

        Within 7 days after the Remaining Petitioning Creditors’ receipt of the initial $30,000
         payments, Tagnetics shall file with the court and serve, by email, upon on each of the
         Remaining Petitioning Creditors a notice of payment.

        Upon the filing with the court of the notice of payment, the court will, after a 24‐hour
         waiting period, dismiss the Involuntary Petition against Tagnetics.

 Settlement Enforcement Order at 2. Tagnetics has appealed the Settlement Enforcement
 Order to the United States District Court for the Southern District of Ohio (the “District
 Court”), stating one issue on appeal: “The Bankruptcy Court erred when it held that the
 parties’ settlement agreement did not include a release of Tagnetics’ affiliates, subsidiaries,
 parent corporation, officers, and directors.” Tagnetics sought a stay pending appeal from
 this court, which the court denied through an order entered on November 15, 2019 (doc.

 2
  Liquidity event is defined as follows:
 (a) when one person or entity directly or indirectly becomes the beneficial owner of more than 50% of the
 outstanding securities of Tagnetics, provided that the one person or entity does not directly or indirectly own
 more than 50% of the outstanding securities of Tagnetics on the date that the agreement becomes valid;
 (b) the consummation of a merger, sale, or consolidation of Tagnetics with/to another company;
 (c) a sale of substantially all of the assets of Tagnetics; or
 (d) completion of a plan to liquidate, dissolve, or wind up Tagnetics that was approved by Tagnetics’
 shareholders or Board of Directors.

 Settlement Enforcement Order at n.1.

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 138).3 The Petitioning Creditors filed the Motion on November 22, 2019 and the court held a
 telephonic hearing on the Motion on January 28, 2020 (doc. 156 & 161).

                                           Positions of the Parties

         The Petitioning Creditors assert through the Motion that Tagnetics is in contempt of
 the Settlement Enforcement Order in failing to pay them the sums of money due to them
 under the Settlement Enforcement Order, particularly the payments which were due to
 them within three business days after the entry of the Settlement Enforcement Order
 ($30,000 to each of the Petitioning Creditors).4 Tagnetics asserts that it is not in contempt
 because it has appealed the Settlement Enforcement Order to the United States District
 Court for the Southern District of Ohio (the “District Court”). However, the Petitioning
 Creditors note that Tagnetics has not obtained a stay pending appeal and they argue that,
 absent obtaining a stay pending appeal, Tagnetics must comply with the terms of the
 Settlement Enforcement Order even though Tagnetics appealed the Settlement
 Enforcement Order. As a remedy for Tagnetics’ alleged contempt, the Petitioning Creditors
 request the court to add interest on to the sums they are due under settlement agreement
 and to order that the payments due under the settlement agreement be expedited.




 3
   On January 30, 2020 Tagnetics filed a motion with the District Court seeking a stay of the enforcement of the
 Settlement Enforcement Order on the condition of the posting of a supersedeas bond. As of the date of the
 issuance of this order, the District Court had not ruled on that motion.

 4
   The Petitioning Creditors seek an order finding Tagnetics in “indirect contempt.” “Indirect contempt” is
 generally viewed as a person’s violation of a court’s order which occurs outside the courtroom and presence of
 the judge or contemptuous acts against parties to the litigation as opposed to the court. See Codispoti v. Pa.,
 418 U.S. 506, 5‐34 (1974) (Rehnquist, J., dissenting); Hanner v. O’Farrell, 1998 U.S. App. LEXIS 5551 at *9‐10 (6th
 Cir. Mar. 18, 1998); and Dayton Newspapers, Inc. v. Teamsters Local Union No. 957, 176 F. Supp. 2d 765, 770 (S.D.
 Ohio 2001). Direct contempt is generally viewed as a person’s violation of a court order in the presence of the
 judge or conduct tending to disrupt ongoing judicial proceedings. See Dayton Newspapers at 767 n.1. Direct and
 indirect contempt can be either criminal or civil contempt. Regardless, the court is construing the Petitioning
 Creditors’ Motion as seeking a determination from the court that Tagnetics is in civil contempt of the
 Settlement Enforcement Order. There is no dispute that any alleged violation of the Settlement Enforcement
 Order has occurred outside the presence of the judge and is directed against the parties as opposed to the
 court and, thus, to the extent Tagnetics violated the Settlement Enforcement Order and is held in contempt,
 any such contempt would constitute indirect contempt.

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                                     Law on Civil Contempt

        “The purpose of contempt proceedings is to uphold the power of the court, and also
 to secure to suitors therein the rights by it awarded.” Bessette v. W. B. Conkey Co., 194 U.S.
 324, 327 (1904). The contempt power is an inherent power which the federal courts “must
 have and exercise in protecting the due and orderly administration of justice and in
 maintaining the authority and dignity of the court[.]” Roadway Express v. Piper, 447 U.S. 752,
 764 (1980) (citation omitted). “Civil contempt is the power of the court to impose sanctions
 to coerce compliance with its orders.” United States v. Tenn., 925 F. Supp. 1292, 1301 (W.D.
 Tenn. 1995) (citing Hicks v. Feiock, 485 U.S. 624, 632 (1988)); Shillitani v. United States, 384
 U.S. 364, 370 (1966); Gompers v. Buck’s Stove & Range Co., 221 U.S. 418, 442 (1988)).

        Contempt may be categorized as either “criminal contempt” or “civil
        contempt.” The difference between civil contempt and criminal contempt in
        large part lies in the purpose of the remedy imposed by the court. A finding of
        criminal contempt is generally remedied through a sanction ordered by the
        court intended to penalize or punish the contemnor. The remedy for civil
        contempt, on the other hand, is intended to either compensate the aggrieved
        party for its damages or losses incurred as a result of the contemnor’s
        violation of the court’s order or to coerce the contemnor’s compliance with
        the order. Ahmed v. Reiss Steamship Co. (In re Jaques), 761 F.2d 302, 305 (6th
        Cir. 1985) (citations omitted). Thus, as described by the Supreme Court: It is
        not the fact of punishment but rather its character and purpose, that often
        serve to distinguish between the two classes of cases. If it is for civil contempt
        the punishment is remedial, and for the benefit of the complainant. But if it is
        for criminal contempt the sentence is punitive, to vindicate the authority of
        the court. It is true that punishment by imprisonment may be remedial, as well
        as punitive, and many civil contempt proceedings have resulted not only in the
        imposition of a fine, payable to the complainant, but also in committing the
        defendant to prison. But imprisonment for civil contempt is ordered where
        the defendant has refused to do an affirmative act required by the provisions
        of an order which, either in form or substance, was mandatory in its character.
        Imprisonment in such cases is not inflicted as a punishment, but is intended to
        be remedial by coercing the defendant to do what he had refused to do. The
        decree in such cases is that the defendant stand committed unless and until
        he performs the affirmative act required by the court's order.

 Gompers, 221 U.S. at 441‐42.




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          In order for a court to hold a person in contempt, the court must find by clear and
 convincing evidence that the person “violated a definite and specific order of the court
 requiring him to perform or refrain from performing a particular act or acts with knowledge
 of the court’s order.” Elec. Workers Pension Trust Fund of Local Union #58 v. Gary’s Elec. Serv.
 Co., 340 F.3d 373, 379 (6th Cir. 2003) (quoting NLRB v. Cincinnati Bronze, Inc., 829 F.2d 585,
 591 (6th Cir. 1987) (citation omitted)); In re Franks, 363 B.R. 839, 843 (Bankr. N.D. Ohio 2006)
 (similar). Corporations may be held in civil contempt. See McComb v. Jacksonville Paper Co.,
 336 U.S. 187 (1949); NLRB v. Aquabrom, Div. of Great Lakes Chemical Corp., 855 F.2d 1174, 1186
 (6th Cir. 1988). Bankruptcy courts have the authority to find persons in civil contempt. In re
 Franks, 363 B.R. 839, 842 (Bankr. N.D. Ohio 2006); Elder‐Beerman Stores Corp. v. Thomasville
 Furniture Indus. (In re Elder‐Beerman Stores Corp.), 197 B.R. 629, 632 (Bankr. S.D. Ohio 1996).

          As the Sixth Circuit has emphasized, “[c]ontempt is serious” and “courts must
 exercise the contempt sanction with caution and use ‘[t]he least possible power adequate
 to the end proposed.’” Gascho v. Global Fitness Holdings, LLC, 875 F.3d 795, 799 (6th Cir. 2017)
 (internal citation omitted). The “drastic nature of contempt sanctions” requires that the
 court use those powers “only in clear and urgent instances.” Lucas v. Telemarketer Calling
 from 407 (476‐5680), 2015 U.S. Dist. LEXIS 151077 (S.D. Ohio Nov. 6, 2015) (quoting in part
 Springfield Bank v. Caserta, 10 B.R. 57, 59 (Bankr. S.D. Ohio 1981)).

          Consistent with the mandate to use its contempt powers sparingly, a court’s civil
 contempt authority should not be used when the movant is merely seeking to collect on a
 money judgment.5           Aetna Cas. & Sr. Co. v. Markarian, 114 F.3d 346, 349‐50 (1st Cir. 1997);
 Ecopetrol S.A. v. Offshore Exploration & Prod. LLC, 172 F. Supp. 3d 691, 697 (S.D.N.Y. 2016); Jou

 5
   A money judgment, as that term is used in Federal Rule of Civil Procedure 69, has been referred to as a
 judgment which includes two elements: “(1) an identification of the parties for and against whom judgment is
 being entered, and (2) a definite and certain designation of the amount which plaintiff is owed by defendant.”
 Penn Terra, Ltd. v. Department of Environmental Resources, 733 F.2d 267, 275 (3d Cir. 1984); Fox v. Nat’l Oilwell
 Varco, 602 Fed. Appx. 449, 452 (10th Cir. 2015) (citing Ministry of Def. & Support for the Armed Forces of the
 Islamic Republic of Iran v. Cubic Def. Sys., Inc., 665 F.3d 1091, 1101 (9th Cir. 2011)) (similar). Federal Rule of Civil
 Procedure 54(a), incorporated into the Federal Rules of Bankruptcy Procedure by Rule 7054, defines
 “judgment” as “a decree and any order from which an appeal lies.” See also Associated Gen. Contrs. Of Ohio, Inc.
 v. Drabik, 250 F.3d 482, 485 (6th Cir. 2001) (discussing “money judgment” in the context of determining
 whether an award of attorney fees was a money judgment entitled to interest under 28 U.S.C. § 1961.).
    .

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 v. Adalian, 2015 U.S. Dist. LEXIS 13786 at *16‐17 (D. Haw. Feb. 5, 2015). Rather, in those
 circumstances, the aggrieved party must use the tools provided under and through Federal
 Rule of Civil Procedure 69 to enforce and collect upon the money judgment.

                                            Analysis of this Case

         Tagnetics has neither asserted nor argued that it has complied with the Settlement
 Enforcement Order. Nor has it asserted that the Settlement Enforcement Order is not clear
 and specific, nor that it was not aware of the Settlement Enforcement Order. Rather, it has
 only asserted that it has appealed the Settlement Enforcement Order and does not want to
 pay sums due under the settlement as found through the Settlement Enforcement Order in
 the event that the District Court determines that there “was no meeting of the minds” as to
 the settlement.6

          The Settlement Enforcement Order has many attributes of being a money judgment.
 It is a final, appealable order and, in fact, has been appealed. See Fed. R. Civ. P. 54(a). And
 more importantly, it requires Tagnetics to pay definite sums of money to the Petitioning
 Creditors. However, due to the unique and special circumstances of this case, including the
 specific requirement in the parties’ settlement of an initial payment as consideration for
 dismissal of the petition, the court’s civil contempt power is the only remedy available to
 enforce Tagnetics’ compliance with the Settlement Enforcement Order, including its
 obligation to pay the Petitioning Creditors the sums they are due. The collection tools
 provided by Rule 69 are not presently available to collect the sums due the Petitioning
 Creditors because the Tagnetics’ bankruptcy case initiated through the involuntary
 bankruptcy petition remains pending, along with the stay provided by the Bankruptcy Code.
 11 U.S.C. § 362(a). The automatic stay applies in all bankruptcy cases, including those
 commenced through the filing of an involuntary petition. In re Nicole Gas Prod. Ltd., 502 B.R.

 6
   Tagnetics’ only “Statement of Issue on Appeal” included with its Designation Of Record And Statement Of
 Issues To Be Presented On Appeal Submitted By Tagnetics, Inc. (doc. 137) was that “[t]he Bankruptcy Court erred
 when it held that the parties’ settlement agreement did not include a release of Tagnetics’ affiliates,
 subsidiaries, parent corporation, officers, and directors.” That document did not include an alternative
 argument or statement of issue on appeal that there was no meeting of the minds as to the settlement
 agreement.


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 508, 514 (Bankr. S.D. Ohio 2013); In re Epstein, 314 B.R. 591, 594 (Bankr. S.D. Tex. 2004); In re
 C.W. Mining Co., 2008 Bankr. LEXIS 4840 at *9 (Bankr. D. Utah Aug. 7, 2008). Thus, the
 Petitioning Creditors may not simply enforce their rights under the Settlement Enforcement
 Order through the collection mechanisms provided by Rule 69.7

         An appeal of an order by itself does not stay a party’s duty to comply with the court’s
 order. A party’s obligation to comply with a court order exists pending an appeal absent a
 stay issued by an appropriate court staying enforcement of that order. Maness v. Meyers,
 419 U.S. 449, 458‐59 (1975); United States v. Fesman, 781 F. Supp. 511, 514 (S.D. Ohio 1991).
 Similarly, without a stay pending appeal, the trial court retains the authority to enforce the
 order. Williamson v. Recovery Ltd. P’ship, 731 F.3d 608, 626 (6th Cir. 2013); City of Cookeville,
 Tenn. v. Upper Cumberland Elec. Membership Corp., 484 F.3d 380, 394 (6th Cir. 2007).

         Thus, since a stay has not been issued by this court or the District Court, Tagnetics is
 not in compliance with the Settlement Enforcement Order, and the Settlement Enforcement
 Order is definite and specific and Tagnetics at all times has been aware of the Settlement
 Enforcement Order, the court finds by clear and convincing evidence that it is in contempt.

         Since Tagnetics is in contempt of the Settlement Enforcement Order, the court is left
 with the issue of how to compensate the Petitioning Creditors for their damages incurred as
 a result of Tagnetics’ contempt and how to coerce Tagnetics’ compliance with the
 Settlement Enforcement Order. The Petitioning Creditors’ damages are a loss of money –
 the failure to be paid the sums they are due under the Settlement Enforcement Order. The
 Petitioning Creditors may be adequately compensated for those damages through the
 interest to which they are entitled under federal law, that being the federal judgment rate of
 interest provided by 28 U.S.C. § 1961. However, in addition to compensatory damages, this
 court may also include in any civil contempt sanction a monetary component intended to
 coerce the contemnor into compliance with its order. Any such coercive component,
 however, must be prospective only and not retroactive. See Shillitani v. United States, 384

 7
  Once the initial payments are made to the Petitioning Creditors, pursuant to the terms of the settlement and
 the Settlement Enforcement Order, the involuntary bankruptcy petition can be dismissed and the Rule 69
 collection remedies may be available to collect any additional sums due under the Settlement Enforcement
 Order.

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 U.S. 364, 369‐370 (1966); Jaques, 761 F.2d at 308. Accordingly, Tagnetics shall have 30 days
 from the date of the entry of this order to pay all past‐due sums due to the Petitioning
 Creditors under the Settlement Enforcement Order ($30,000 to each Petitioning Creditor),
 with interest at the rate provided by 28 U.S.C. § 1961 commencing three business days after
 the Settlement Enforcement Order was entered. To coerce Tagnetics’ compliance with the
 Settlement Enforcement Order, in the event those sums are not paid to the Petitioning
 Creditors within 30 days of this order, the court finds that it is appropriate to add on to that
 federal judgment rate of interest, additional interest at the rate of 5% per annum, simple
 interest, compounded monthly, commencing on the 31st day following the entry of this
 order and continuing until all such sums are paid. In addition, interest shall accrue on all
 sums due under the Settlement Enforcement Order in the future at the federal judgment
 rate of interest, plus the 5% per annum, compounded monthly, until all such sums are paid.
 This additional interest shall be on all sums previously due that are not paid to the
 Petitioning Creditors within 30 days of the entry of separate order to be entered, plus any
 additional sums that become due in the future, from the time that those sums first become
 due under the settlement agreement as found by the court through the Settlement
 Enforcement Order. The additional 5% interest shall not be due or accumulate during the
 pendency of any stay pending appeal, from the time the stay first becomes effective until
 the stay terminates.

                                            Conclusion

        For the foregoing reasons, the court finds that Tagnetics is in civil contempt of the
 Settlement Enforcement Order. Accordingly, the Petitioning Creditors’ motion to hold
 Tagnetics in contempt is granted. A separate order will be entered consistent with this
 decision.

        IT IS SO ORDERED.

 Copies to: All Creditors and Parties in Interest, Plus

 Douglas S. Draper, 650 Poydras Street, Suite 2500, New Orleans, Louisiana 70130
 Leslie A. Collins, 650 Poydras Street, Suite 2500, New Orleans, Louisiana 70130

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